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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                  Eastern District
                                                __________         of of
                                                            District  New  York
                                                                         __________

 FINANCIAL SERVICES VEHICLE TRUST, by and                        )
 through its servicer, BMW FINANCIAL SERVICES                    )
                       NA, LLC,                                  )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 22-cv-7491
                                                                 )
              ESMERALDA OSMANAJ; and                             )
               AMANDA AHMED SULTAN,
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Amanda Ahmed Sultan
                                       283 Quintard Street
                                       Staten Island, New York 10305

                                       Esmeralda Osmanaj
                                       228 Netherland Avenue,
                                       Staten Island, New York 10303-2211
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Biedermann Hoenig Semprevivo, P.C.
                                       Attn: Steven Andreacchi, Esq.
                                       One Grand Central Place
                                       60 East 42nd Street, 36th Floor
                                       New York, New York 10165
                                       (646) 218-7560

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                            #3&//" #.")0/&:
                                                                            CLERK OF COURT


Date:    12/09/2022                                                         /s/Shirley Ramos
                                                                                      Signature of Clerk or Deputy Clerk
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 Civil Action No. 22-cv-7491

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
